           Case 2:18-mj-02962-DUTY Document 3 Filed 11/27/18 Page 1 of 1 Page ID #:173

     AO 93 (Rev. 12109) Search and Sei::.ure Warrant (Page 2)


                                                                     Return
     Case No.:                               Date and time warrant executed:         Copy of warrant and inventory left with:
      2: 18-MJ-02962                         November 8 , 2018 at                     Locker #130
     Inventory made in the presence of:
                                                        No o n e present

     Inventory of the property taken and name of any person(s) seized:
     [Please provide a description that wo uld be sufficient to demon strate that the items seized fa ll within the items authorized to be
     se ized pursuant to the warrant (e.g., type of documents, as opposed to " miscell aneous documents") as well as the approximate
     volume of any documents seized ( e.g., number of boxes). If reference is made to an attached descripti on of property, specify the
     num ber of pages to the attachm ent and any case number appearing thereon.]

                Nothing seized




                                                                                   (by officer present during the execution of the warrant)


     I declare under p enalty ofperjury that I am an officer who executed this warrant and that this inventory is correct and
     was returned along with the original warrant to the des ignated judge through a filing with the Clerk's Office.




     Date:      \ \ - :). 7-1'6
                                                                               {     ~        Executing officer 's signature

                                                                                             Jeremy Pearson , SA
                                                                                               Printed name and title




AUSAs : Lindsey Dotson (x4443), Joseph Axelrad (x7964)
